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                                         UNITED   STATES   DISTRICT   COURT 
                                          DISTRICT   OF   MASSACHUSETTS 
            
 
BYRON   THOMAS 
       Plaintiff, 
 
v.                                                                          COMPLAINT   &  JURY   DEMAND  
 
LVNV   FUNDING,   LLC   AND   SOLOMON 
&   SOLOMON,   P.C. 
       Defendants.                 
                                                                     
 
                                                SUMMARY 
                                                             
                1. Massachusetts   law   provides   that   a  wage   garnishment   cannot   be   obtained   unless   it 

    is   requested   pursuant   to   a  valid   Massachusetts   judgment.   A  judgment   rendered   in   a  sister   state 

    must   therefore   be   “domesticated”   into   a  Massachusetts   judgment   before   a  wage   garnishment 

    action   can   be   maintained.   A  judgment   will   not   be   domesticated,   though,   if   it   is   defective.  

                2. In   this   case,   LVNV   previously   obtained   a  default   judgment   against   Mr.   Thomas   in 

    the   State   of   Ohio,   but   it   was   defective   for   lack   of   service   of   process.   Had   LVNV   sought   to 

    properly   domesticate   its   judgment   in   Massachusetts,   its   request   would   have   been   denied. 

    Instead,   LVNV   and   its   counsel   skipped   the   domestication   procedure   altogether   and   sued   Mr. 

    Thomas   and   his   employer   in   order   to   obtain   a  wage   garnishment   directly   under   the   Ohio 

    judgment.   This   action   had   no   basis   in   law   and,   as   described   below,   was   riddled   with   errors.  

                3. Accordingly,   Mr.   Thomas   now   brings   suit   for   violation   of   the   Fair   Debt   Collection 

    Practices   Act   (FDCPA)   and   the   Massachusetts   Consumer   Protection   Act. 

                                                                     


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                                       FEDERAL   JURISDICTION   &  VENUE 

                4. The   Court   has   jurisdiction   pursuant   to   28   U.S.C.   §  1331   because   this   case   arises 

    under   the   laws   of   the   United   States,   15   U.S.C.   §  1692k(d)   and   supplemental   jurisdiction   over 

    state   law   claims   pursuant   to   28   U.S.C.   §  1367.  

                5. Venue   is   proper   in   the   District   of   Massachusetts   because,   pursuant   to   28   U.S.C.   § 

    1391(b)   a  substantial   portion   of   the   acts   giving   rise   to   this   action   occurred   within   the   District   of 

    Massachusetts.  

 

                                                            PARTIES 

                6. Plaintiff   Byron   Thomas   (Mr.   Thomas)   is   a  natural   person   residing   in   Worcester, 

    Massachusetts. 

                7. Defendant   LVNV   Funding   LLC   (LVNV)   is   a  limited   liability   company   organized 

    under   the   laws   of   Delaware,   with   its   principal   office   in   Nevada.  

                8. Defendant   Solomon   &  Solomon,   P.C.,   (Solomon)   is   a  law   firm   organized   under   the 

    laws   of   New   York,   with   its   principal   office   in   New   York. 

 

                                                      COMMON   FACTS 

                9. In   approximately   1999,   Mr.   Thomas   opened   a  credit   account   with   Providian 

    Financial   Corporation.  

                10. The   account   was   incurred   for   personal,   family,   or   household   purposes.  

                11. Mr.   Thomas   defaulted   on   the   account,   and   it   was   subsequently   assigned   to   LVNV.  




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            12. On   or   about   May   16,   2007,   LVNV   sued   Mr.   Thomas   in   order   to   collect   this   debt. 

The   lawsuit   was   filed   in   the   County   Court   of   Montgomery   County   Municipal   Court,   Western 

Division,   in   the   State   of   Ohio.   It   was   identified   as   case   number   2007   CVF   00611. 

            13. LVNV   purported   to   serve   notice   of   this   lawsuit   on   Mr.   Thomas   via   certified   mail 

at   an   address   in   Dayton,   Ohio.   However,   that   certified   mail   notice   went   unclaimed   by   Mr. 

Thomas,   as   he   was   then   living   in   Indiana   and   never   received   it.  

            14. Instead   of   attempting   to   locate   Mr.   Thomas   at   his   correct   address,   LVNV   then 

purported   to   serve   him   at   that   same   Ohio   address   via   first   class   mail.  

            15. LVNV   ultimately   obtained   a  default   judgment   against   Mr.   Thomas   based   on   this 

purported   notice.   

            16. Judgment   in   favor   of   LVNV   was   entered   on   November   20,   2007   in   the   amount   of 

$4,971.51   plus   post­judgment   interest   of   8.00%   per   annum.  

            17. Mr.   Thomas   never   received   service   of   process,   as   he   was   then   living   in 

Bloomington,   Indiana.   

            18. LVNV’s   Ohio   judgment   is   void   for   lack   of   service.  S  ee   State   ex   rel.   Ballard   v. 

O’Donnell ,  50   Ohio   St.3d   182,   553   N.E.2d   650   (1990)   (A   default   judgment   rendered   by   a  court 

without   obtaining   service   over   the   defendant   is   void,   and   the   party   is   entitled   to   vacation   of   the 

judgment.) 

            19. Mr.   Thomas   did   not   learn   of   this   judgment   until   approximately   ten   years   later, 

when   in   December   2016   LVNV   filed   suit   to   garnish   his   wages   in   Worcester   County   District 

Court.   The   lawsuit   was   filed   through   its   counsel,   Solomon.  




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             20. Pursuant   to   Massachusetts   law,   a  wage   garnishment   cannot   be   issued   in   this 

circumstance   unless   a  plaintiff’s   claim   has   first   been   reduced   to   a  judgment.   However,   a 

plaintiff   cannot   directly   obtain   a  wage   garnishment   based   on   a  judgment   issued   from   a  sister 

state.   Instead,   that   plaintiff   must   first   convert   its   judgment   into   a  Massachusetts   judgment.  

             21. Pursuant   to   G.L.   c.   235   §  14,   a  trustee   process   execution   shall   not   issue   for   a 

plaintiff   based   upon   a  judgment   rendered   in   a  sister   state   “until   the   plaintiff   files   with   the   court 

rendering   the   judgment   in   the   later   action   a  transcript   of   the   record   of   the   judgment   in   the 

earlier   case   under   the   seal   of   the   court   rendering   it,   attested   by   the   clerk   of   such   court.”   This   is 

commonly   referred   to   as   “domesticating”   a  judgment. 

             22. Although   the   U.S.   Constitution   requires   full   faith   and   credit   of   judgments   rendered 

in   sister   states,   recognition   is   not   automatic.   Instead,   enforcement   of   such   judgments   will   not 

be   allowed   if   the   original   judgment   is   defective   for   reasons   such   as   lack   of   subject   matter 

jurisdiction,   lack   of   personal   jurisdiction,   lack   of   service   of   process,   or   some   other   due   process 

violation.   See   Smith   Barney,   Harris   Upham   &  Co.,   Inc.   v.   Connolly ,  887   F.   Supp.   337   (D.   Mass. 

1994)   (A   party   holding   a  judgment   from   another   state   must   first   obtain   a  Massachusetts 

judgment   that   recognizes   the   out­of­state   judgment   and   then   request   that   an   execution   issue   on 

the   Massachusetts   judgment);   Courtesy   Car   Rental   and   Sales,   Inc.   v.   Lavelle ,  1990   Mass.   App. 

Div.   104   (1990)   (denying   enforcement   of   sister   state   judgment   due   to   defective   service   of 

process);  S  ee   also   Berrios   v.   Perchik ,  20   Mass.   App.   Ct.   930,   479   N.E.2d   695   (1985)   (“A   foreign 

judgment   is   always   open   to   collateral   attack   on   the   ground   that   due   process   notice   requirements 

have   not   been   satisfied.”) 




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                23. In   this   case,   LVNV   and   Solomon   improperly   filed   an   action   against   Mr.   Thomas 

    and   his   employer.   They   sought   to   garnish   Mr.   Thomas’   wages,   notwithstanding   that   LVNV’s 

    Ohio   judgment   had   not   been   converted   into   a  Massachusetts   judgment. 

                24. This   was   not   a  single   mistake.   In   fact,   this   lawsuit   contained   numerous   errors:  

                          a. The   trustee   process   request   had   no   basis   in   law,   as   LVNV   held   only   an 

                     Ohio   judgment,   not   a  Massachusetts   judgment;  

                          b. Although   the   Complaint   correctly   calculated   the   current   value   of   the 

                     judgment   with   post­judgment   interest   of   8%   per   year   under   Ohio   law,   it   wrongfully 

                     alleged   that   LVNV   was   the   holder   of   a  Massachusetts   judgment   (which   would 

                     have   accrued   post­judgment   interest   of   12%   per   year). 

                          c. The   Motion   for   Trustee   Process   included   an   affidavit   signed   by   Solomon 

                     improperly   stating   that   “[t]his   action   is   a  suit   on   a  Judgment   remaining 

                     unsatisfied”   and   .  .  .  “Plaintiff   has   a  good   cause   of   action   against   the   Defendant.”  

 
                                                     COUNT   I 
              VIOLATION   OF   THE   FAIR   DEBT   COLLECTION   PRACTICES   ACT 
                                           15   U.S.C.   §  1692,   et.   seq. 
                                              (LVNV   &  Solomon) 
                                                             
               25. The   preceding   allegations   are   incorporated   by   reference.  

                26. The   account   at   issue   was   opened   primarily   for   personal   or   household   use,   and   is 

    therefore   a  “debt”   as   that   term   is   defined   by   the   FDCPA.   15   U.S.C.   §  1692a(5). 

                27. LVNV   is   a  “debt   collector”   as   that   term   is   contemplated   under   the   FDCPA.   15 

    U.S.C.   §  1692a(6). 




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                28. Solomon   is   a  “debt   collector”   as   that   term   is   contemplated   under   the   FDCPA.   15 

    U.S.C.   §  1692a(6).  

                29. Pursuant   to   15   U.S.C.   §  1692e,   LVNV   and   Solomon   were   prohibited   from   making 

    any   false,   deceptive,   or   misleading   representations.  

                30. Pursuant   to   15   U.S.C.   §  1692e(2),   LVNV   and   Solomon   were   prohibited   from   falsely 

    representing   the   character,   amount,   or   legal   status   of   the   Debt.  

                31. Pursuant   to   15   U.S.C.   §  1692e(4),   LVNV   and   Solomon   were   prohibited   from 

    representing   that   nonpayment   will   result   in   the   garnishment   of   wages,   unless   such   garnishment 

    is   lawful.  

                32. Pursuant   to   15   U.S.C.   §  1692e(5),   LVNV   and   Solomon   were   prohibited   from   taking 

    action   that   cannot   legally   be   taken.  S  ee   Harrington   v.   CACV   of   Colorado,   LLC ,  508   F.   Supp.   2d 

    128   (D.   Mass.   2007)   (adopting   the   majority   rule   that   15   U.S.C.   §  1692e(5)   prohibits   collectors 

    from   both   threatening   and   taking   illegal   actions.).  

                33. Pursuant   to   15   U.S.C.   §  1692e(10),   LVNV   and   Solomon   were   prohibited   from   use 

    of   any   false   representation   or   deceptive   means   to   collect   or   attempt   to   collect   a  debt.  

                34. LVNV’s   and   Solomon’s   actions   violated   15   U.S.C.   §§   1692e,   (2),   (4),   (5),   and   (10). 

                35. Mr.   Thomas   suffered   damages   due   to   LVNV’s   and   Solomon’s   unlawful   actions, 

    including   but   not   limited   to   economic   and   emotional   damages.  

 
                                        COUNT   II 
         VIOLATION   OF   THE   MASSACHUSETTS   CONSUMER   PROTECTION   ACT 
                                      G.L.   c.   93A,   §  2 
                                    (LVNV   &  Solomon) 
 
                36. The   preceding   allegations   are   incorporated   by   reference.  



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             37. LVNV   is   engaged   in   trade   or   commerce   in   Massachusetts.  

             38. Solomon   is   engaged   in   trade   or   commerce   in   Massachusetts 

             39. Pursuant   to   G.L.   c.   93A,   §  2,   LVNV   and   Solomon   were   prohibited   from   engaging   in 

unfair   or   deceptive   acts   or   practices.  

             40. Although   the   terms   “unfair”   and   “deceptive”   are   not   defined   in   the   statute,   courts 

have   typically   found   a  practice   to   be   unfair   if   it   is   “(1)   within   at   least   the   penumbra   of   some 

common­law,   statutory,   or   other   established   concept   of   unfairness;   (2)   whether   it   is   immoral, 

unethical,   oppressive,   or   unscrupulous;   [or]   (3)   whether   it   causes   substantial   injury   to 

consumers.”   PMP   Associates,   Inc.   v.   Globe   Newspaper   Co .,   366   Mass.   593,   596,   321   N.E.2d. 

915,   917   (1975).   Furthermore,   “an   act   or   practice   is   deceptive   it   is   possesses   a  tendency   to 

deceive.   In   determining   whether   an   act   or   practice   is   deceptive,   regard   must   be   had,   not   to   fine 

spun   distinctions   and   arguments   that   may   be   made   in   excuse,   but   to   the   effect   which   it   might 

reasonably   be   expected   to   have   upon   the   general   public.”   Leardi   v.   Brown ,  394   Mass.   151,   156, 

474   N.E.2d   1094,   1099   (1985).  

             41. In   this   case,   LVNV   and   Solomon   sued   Mr.   Thomas   and   his   employer   in   hopes   of 

garnishing   Mr.   Thomas’   wages,   notwithstanding   that   LVNV   did   not   hold   a  valid   Massachusetts 

judgment   against   Mr.   Thomas   and   therefore   had   no   basis   in   law   to   request   a  wage   garnishment. 

The   pleadings   were   further   riddled   with   errors   that,   among   other   things,   misrepresented   the 

amount   owed.   Finally,   the   action   itself   was   based   on   a  void   default   judgment.   Had   LVNV   and 

Solomon   first   sought   to   domesticate   the   Ohio   judgment,   as   is   required   under   Massachusetts   law, 

it   request   would   have   been   denied.  




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             42. Accordingly,   the   actions   of   LVNV   and   Solomon   were   unfair   and/or   deceptive,   in 

violation   of   G.L.   c.   93A,   §  2. 

             43. The   actions   of   LVNV   and   Solomon   wilfully   or   knowingly   violated   G.L.   c.   93A,   § 

2. 

             44. LVNV   does   not   maintain   a  place   of   business   within   the   Commonwealth.  

             45. LVNV   does   not   keep   assets   within   the   Commonwealth.  

             46. Because   LVNV   does   not   maintain   a  place   of   business   or   keep   assets   within   the 

Commonwealth,   it   was   not   entitled   to   receive   a  pre­suit   demand   letter   from   Mr.   Thomas 

pursuant   to   G.L.   c.   93A,   §  9. 

             47. Solomon   does   not   maintain   a  place   of   business   within   the   Commonwealth.  

             48. Solomon   does   not   keep   assets   within   the   Commonwealth.  

             49. Because   Solomon   does   not   maintain   a  place   of   business   or   keep   assets   within   the 

Commonwealth,   it   was   not   entitled   to   receive   a  pre­suit   demand   letter   from   Mr.   Thomas 

pursuant   to   G.L.   c.   93A,   §  9. 

             50. Mr.   Thomas   is   therefore   entitled   to   make   a  claim   pursuant   to   G.L.   c.   93A,   §  9, 

notwithstanding   that   he   did   not   send   LVNV   or   Solomon   a  pre­suit   demand   letter.  S  ee   Moronta   v. 

Nationstar   Mortgage,   LLC ,  476   Mass.   1013,   64   N.E.3d   1287   (2016).  

             51. Mr.   Thomas   suffered   damages   due   to   LVNV’s   and   Solomon’s   unlawful   actions, 

including   but   not   limited   to   economic   and   emotional   damages.  

                                                                
                                                                
                                                                
                                                                
                                                                
                                                                
                                                                

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                                             COUNT   III 
     VIOLATION   OF   THE   MASSACHUSETTS   CONSUMER   PROTECTION   ACT 
                                         G.L.   c.   93A,   §  2 
                                       (LVNV   &  Solomon) 
                                                      
        52. The   preceding   allegations   are   incorporated   by   reference.  

              53. LVNV   is   a  “creditor”   as   that   term   is   contemplated   under   940   Code   Mass.   Regs.   § 

7.03.  

              54. Solomon   is   a  “creditor”   as   that   term   is   contemplated   under   940   Code   Mass.   Regs. 

§   7.03.  

              55. Mr.   Thomas’   account   is   a  “debt”   as   that   term   is   contemplated   under   940   Code 

Mass.   Regs.   §  7.03.  

              56.   The   actions   of   LVNV   and   Solomon   were   also   per   se   violations   of   G.L.   c.   93A,   §  2, 

as   they   violated   regulations   issued   by   the   Massachusetts   Attorney   General,   including:  

              a. 940   Code   Mass.   Regs.   §  7.07(2),   which   prohibited   them   from   any   knowingly   false 

                   or   misleading   representation   in   any   communication   as   to   the   character,   extent   or 

                   amount   of   the   debt,   or   as   to   its   status   in   any   legal   proceeding;  

              b. 940   Code   Mass.   Regs.   §  7.07(8),   which   prohibited   them   from   any   false,   deceptive, 

                   or   misleading   representation,   communication,   or   means   in   connection   with   the 

                   collection   of   any   debt   or   to   obtain   any   information   concerning   a  debtor;  

              c. 940   Code   Mass.   Regs.   §  7.07(16),   which   prohibited   them   from   collecting   any 

                   amount   not   permitted   by   law; 

              57. Pursuant   to   G.L.   c.   93A,   §  2(c),   any   violation   of   940   Code   Mass.   Regs.   §  7.07(2), 

(8),   or   (16)   shall   constitute   an   unfair   or   deceptive   act   or   practice   under   the   Massachusetts 

Consumer   Protection   Act,   G.L.   c.   93A,   §  2. 


                                                                  9 
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               58. The   actions   of   LVNV   and   Solomon   wilfully   or   knowingly   violated   G.L.   c.   93A,   § 

    2. 

               59. Mr.   Thomas   is   entitled   to   make   a  claim   pursuant   to   G.L.   c.   93A,   §  9, 

    notwithstanding   that   he   did   not   send   LVNV   or   Solomon   a  pre­suit   demand   letter.  S  ee   Moronta   v. 

    Nationstar   Mortgage,   LLC ,  476   Mass.   1013,   64   N.E.3d   1287   (2016).  

               60. Mr.   Thomas   suffered   damages   due   to   LVNV’s   and   Solomon’s   unlawful   actions, 

    including   but   not   limited   to   economic   and   emotional   damages.  

 
                                                  COUNT   IV 
          VIOLATION   OF   THE   MASSACHUSETTS   CONSUMER   PROTECTION   ACT 
                                              G.L.   c.   93A,   §  2 
                                                    (LVNV) 
                                                           
             61. The   preceding   allegations   are   incorporated   by   reference.  

               62. LVNV   is   a  “debt   collector”   as   that   term   is   contemplated   under   209   Code   Mass. 

    Regs.   §  18.02.  

               63. Mr.   Thomas’   account   is   a  “debt”   as   that   term   is   contemplated   under   209   Code 

    Mass.   Regs.   §  18.02.  

               64. The   actions   of   LVNV   were   also   per   se   violations   of   G.L.   c.   93A,   §  2,   as   they 

    violated   regulations   issued   by   the   Massachusetts   Division   of   Banks,   including:  

               a. 209   Code   Mass.   Regs.   §  18.16,   which   prohibited   it   from   making   any   false, 

                    deceptive,   or   misleading   representations; 

               b. 209   Code   Mass.   Regs.   §  18.16(2),   which   prohibited   it   from   falsely   representing   the 

                    character,   amount,   or   legal   status   of   any   debt;  




                                                                 10 
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               c. 209   Code   Mass.   Regs.   §  18.16(4),   which   prohibited   it   from   falsely   representing   the 

                    character,   amount,   or   legal   status   of   any   debt;  

               d. 209   Code   Mass.   Regs.   §  18.16(5),   which   prohibited   it   from   representing   that 

                    nonpayment   will   result   in   the   garnishment   of   wages,   unless   such   garnishment   is 

                    lawful.  

               e. 209   Code   Mass.   Regs.   §  18.16(10),   which   prohibited   it   from   using   any   false 

                    representation   or   deceptive   means   to   collect   or   attempt   to   collect   a  debt.  

               f. 209   Code   Mass.   Regs.   §  18.17(1),   which   prohibited   it   from   collecting   any   amount 

                    not   permitted   by   law.  

             65. Pursuant   to   G.L.   c.   93,   §  28,   any   violation   of   209   Code   Mass.   Regs.   §§   18.16,   (2), 

(4).   (5),   or   (10)   “shall   constitute   an   unfair   or   deceptive   act   or   practice”   under   the   Massachusetts 

Consumer   Protection   Act,   G.L.   c.   93A,   §  2. 

             66. The   actions   of   LVNV   wilfully   or   knowingly   violated   G.L.   c.   93A,   §  2. 

             67. Mr.   Thomas   is   entitled   to   make   a  claim   pursuant   to   G.L.   c.   93A,   §  9, 

notwithstanding   that   he   did   not   send   LVNV   a  pre­suit   demand   letter.   See   Moronta   v.   Nationstar 

Mortgage,   LLC ,  476   Mass.   1013,   64   N.E.3d   1287   (2016).  

             68. Mr.   Thomas   suffered   damages   due   to   LVNV’s   unlawful   actions,   including   but   not 

limited   to   economic   and   emotional   damages.  

 

                                              REQUEST   FOR   RELIEF 

          WHEREFORE,   Thomas   requests   that   the   Court   issue   judgment   in   his   favor   and   against 

LVNV   and   Solomon,   as   well   as   the   following   relief:  



                                                                11 
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             A. Judgment   that   LVNV   violated   the   Fair   Debt   Collection   Practices   Act; 

             B. Judgment   that   Solomon   violated   the   Fair   Debt   Collection   Practices   Act 

             C. Judgment   that   LVNV   violated   the   Massachusetts   Consumer   Protection   Act;  

             D. Judgment   that   Solomon   violated   the   Massachusetts   Consumer   Protection   Act; 

             E. Actual   damages;  

             F. Double   or   triple   actual   damages; 

             G. Statutory   damages;  

             H. Costs,   interest,   and   attorney’s   fees;   and 

             I. All   other   relief   to   which   he   is   entitled   at   law   or   equity.  

                                                                     

                                                         Jury   Demand 

         Plaintiff   demands   a  trial   by   jury   on   all   issues   so   triable.  

                                                              Respectfully   submitted,  

                                                              Plaintiff, 
                                                              Byron   Thomas,  
                                                              By   counsel,  
                                                                      
                                                                      
                                                              /s/   Christopher   M.   Brine 
                                                              Christopher   M.   Brine   (BBO   679289) 
                                                              Brine   Consumer   Law 
                                                              100   Grove   Street,   Suite   210 
                                                              Worcester,   MA   01605 
                                                              P   ­  508.556.1899 
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                                                              cmb@brineconsumerlaw.com  
 
June   5,   2017 
 



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